UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                          :
BEYOND BESPOKE TAILORS, INC., et                          :                                  7/7/2021
al.,                                                      :
                                                          :
                                        Plaintiffs,       :               20-cv-5482 (VSB)
                                                          :
                      -against-                           :                    ORDER
                                                          :
JAMES BARCHIESI, et al.,                                  :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        On July 2, 2021, I granted defense counsel’s motion to withdraw, and stayed this case for

thirty days to allow Defendants to secure new counsel. (Doc. 42.) Currently, there is both a

motion to dismiss and motion to transfer venue pending. (Doc. 10.) Recently, the parties have

sought leave to file declarations related to the motion to transfer. (Docs. 41–42.) Given that this

case is stayed, I will hold any ruling on the two motions and requests for leave in abeyance until

Defendants secure new counsel.

SO ORDERED.

Dated: July 7, 2021
       New York, New York

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                                                              Vernon S. Broderick
                                                              United States District Judge
